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                            UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF DISTRICT OF FLORIDA
                                CASE #: 1:24-CR-20188-RAR


  UNITED STATES OF AMERICA,
            Plaintiff,

  vs.

  ANDREW SHAWN FERMIN,
              Defendant.
  _________________________________________/

               UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING


        COMES NOW, Defendant ANDREW SHAWN FERMIN, by and through his undersigned

  counsel, and moves this Court for the entry of an Order for continuance, stating as follows:

        1. Mr. Fermin is charged with one (1) count of Conspiracy to Launder Monetary Instruments.

        2. Mr. Fermin is scheduled for his Sentencing hearing on Monday, June 9, 2025, at 1:30 p.m.

        3. Mr. Fermin respectfully requests a short continuance of the sentencing hearing to a date

           after July 16, 2025.

        4. The basis for this request is that Mr. Fermin’s son’s Kindergarten graduation is June 18,

           2025, and birthday is on July 9, 2025, and he will be turning six (6) years old. Mr. Fermin

           wishes to be present and celebrate these important milestones with his son before facing a

           likely period of incarceration.

        5. Further, the undersigned will be out of the jurisdiction and will return on July 16, 2025.

        6. Therefore, we are requesting a brief continuance of the Sentencing Hearing until after July

           16, 2025.

        7. This request is made in good faith and not for the purpose of delay.
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       8. After conferring with Assistant United States Attorney Katherine Guthrie, the Government

           does not oppose this request.

       WHEREFORE, the Defendant, Andrew Shawn Fermin respectfully requests that this Honorable Court

   enter an Order granting our Motion to Continue.




                                                     Respectfully submitted,


                                                     Chad Piotrowski, Esq.
                                                     Piotrowski Law
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                                                     / s / Chad Piotrowski
                                                     Chad Piotrowski, Esq.
                                                     FL Bar No. 33507
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                                   CERTIFICATE OF SERVICE


   I HEREBY certify that on this 12th day of May 2024, I electronically field the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
this day on all counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                     / s / Chad Piotrowski
                                                     Chad Piotrowski, Esq.
